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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


       BROADGATE, INC.,

          Plaintiff

       -against-                             2:22−cv−11593−LJM−KGA
                                             District Judge Laurie J. Michelson
      SECRETARY, DEPARTMENT
  OF LABOR                                   INDEX OF EXHIBITS FILED
                                             WITH PLAINTIFF’S REPLY TO
           Defendant                         DEFENDANT’S OPPOSITION TO
                                             PLAINTIFF’S MOTION FOR
                                             INJUNCTION PENDING APPEAL



 Exhibit B: Evidence that Broadgate still has need for 7 petition beneficiaries

 Exhibit C: Evidence of salary being offered to relevant beneficiaries

 Exhibi D: Declaration of Kashi Kotha regarding the profit which Broadgate

 expects to earn from the employment of the 7 referenced beneficiaries and the

 lack of response to its recent recruitment efforts.
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 Exhibit E: Evidence of Broadgate’s attempts to find replacements for said

 beneficiaries

 Exhibit F: Fee receipts for petitions filed by Broadgae with USCIS



 Respectfully Submitted this 20th day of October, 2022

 /s/ Michael E. Piston

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